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Attorney for Daniel Stonebarger

 

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO
DENVER DIVISION
UNITED STATES OF AMERICA, ) NO.: 1:21-cr-00392-RM
)
Plaintiff, ) STIPULATION AND [PROPOSED] ORDER
) CONTINUING SENTENCING DATE
v. )
)
DANIEL STONEBARGER )
)
Defendant. )
)
Counsel for the defense, Daniel Stonebarger stipulates and requests that the sentencing date
currently set for April 22, 2022, be continued to May 11, 12, or 13, 2022. Recent communication with

The Government regarding the pre-sentence report has illuminated some factors that need to be
addressed, which are hampered by my personal travel and court schedule in April. As such, we request
this brief continuance so as not to negatively impact Mr. Stonebarger’s rights. No further delays are
anticipated. The United States by and through AUSA Martha Paluch does not oppose this defense

request.

IT IS SO STIPULATED.

DATED: March 30, 2022 Respectfully submitted,

 

Counsel for Defendant Daniel Stonebarger

 
